             Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 1 of 21
                                                                                          FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS

                                                                                          JAN 2 7 2022
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS TAMMY H~WNS, CLERK -~
                                  CENTRAL DIVISION          By:   -       DEP CLERK



KENDALL MEYERS,

                 Plaintiff,

vs.                                                    Civil Action No.     1~n-C\I-OOO°H-lf lZ
AUTODESK, INC.                               This case assigned to District Judge t:Y<>o~~
                                             and to Magistrate Judge _____&~:!/.,_____
                 Defendant.


                        NOTICE OF REMOVAL TO FEDERAL COURT


       Defendant Autodesk, Inc. (hereinafter, "Autodesk" and/or "Defendant") hereby removes

this case from the Circuit Court of Faulkner County, Arkansas to the United States District Court

for the Eastern District of Arkansas, Central Division. In further support of this Notice, Defendant

would state as follows:

         1.      Plaintiffs Complaint was filed in the Circuit Court of Faulkner County, Arkansas,

on November 2, 2021 and designated as Case No. 23-CV-21-1401.

       2.        Defendant was served with Plaintiffs Complaint and Summons through its agent

for service of process on December 30, 2021. See Exhibit A. Defendant is timely filing the instant

Notice of Removal within thirty (30) days of service as required by 28 U.S.C. §1446(b).

        3.       This action is properly removable under 28 U.S.C. § 1441(a) because the United

States District Court has original jurisdiction in this case pursuant to 28 U.S.C. § 1331, which

provides, "[t]he district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States," and 28 U.S.C. § 1337, which provides, "[t]he




                                                   1                           ORIGINAL
            Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 2 of 21




district courts shall have original jurisdiction of any civil action or proceeding arising under any

Act of Congress regulating commerce .... "

        4.      In his Complaint, Plaintiff assert a single cause of action, which arises under Title

VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq. See Complaint, ifl2. Consequently,

this Court has federal question jurisdiction over this action pursuant to the provisions of28 U.S.C.

§ 1441(a), and this action is properly removable.

       5.       Pursuant to 28 U.S.C. § 1446(a), attached hereto is a copy of all process, pleadings,

and orders served upon Defendant. See Exhibit B. These documents comprise the entire file of

the Circuit Court of Faulkner County, Arkansas for this matter.

       6.       In accordance with the requirements of28 U.S.C. § 1446(d), upon filing this Notice,

Defendant has given written notice to Plaintiff and the Clerk of the Circuit Court of Faulkner

County, Arkansas by furnishing to each a copy of this Notice and all attachments hereto. A copy

of the Notice of Filing Notice of Removal is attached hereto. See Exhibit C.

       WHEREFORE, Defendant hereby removes this action to the United States District Court

for the Eastern District of Arkansas, Central Division.

DATED: January 26, 2022                               Respectfully submitted,



                                                      M. Kimberly Hodges (AR #2019018)
                                                      Attorney for Defendant Autodesk, Inc.
                                                      OGLETREE, DEAKINS, NASH,
                                                      SMOAK & STEWART, P.C.
                                                      6410 Poplar Avenue, Suite 300
                                                      Memphis, Tennessee 38119
                                                      Telephone: (901) 766-4306
                                                      Facsimile: (901) 767-7411
                                                      Kim.Hodges@ogletreedeakins.com

                                                      Attorneys for Defendant



                                                 2
         Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 3 of 21




                                 CERTIFICATE OF SERVICE
       I, the undersigned counsel for Defendant, hereby certify that on this 26th day of January,

2022, a copy of the foregoing NOTICE OF REMOVAL is being served on counsel for the Plaintiff

via Electronic and first-class U.S. Mail, postage prepaid, as follows:

                                Tabatha Branch (AR #2002155)
                                TS BRANCH LAW FIRM, PLLC
                                700 S. German Lane, Ste. 110
                                Conway, Arkansas 72034
                                (501) 329-5555 -Telephone
                                (501) 377-9879 - Facsimile
                                Email: tsbranchy@tsbranchlaw.com

                                Counsel for the Plaintiff

       I further certify that on this 26th day of January, 2022, a copy of the foregoing was served

via first-class U.S. Mail, postage prepaid, and properly addressed to the Faulkner Circuit Court

Clerk as follows:

                                Crystal Taylor, Circuit Clerk
                                Circuit Court of Faulkner County, Arkansas
                                724 Locust Street,
                                Conway, Arkansas 72034




                                                             M. Kimberly Hodges (AR2019018)
                                                             Counsel for Defendant




                                                 3
                                                                              50062769. vl-OGLETREE
'   I
        Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 4 of 21




         EXHIBIT A
                       Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 5 of 21

                                                NATIONAL REGISTERED AGENTS, INC.
                                      SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: Craig Hucklebridge
      Autodesk Inc.                                                                                                  SOP Transmittal #         540813482
      111 Mcinnis Pkwy
      San Rafael, CA 94903-2700
Entity Served: AUTODESK, INC. (Domestic State: DELAWARE)


Enclosed herewith are legal docwnents received on behalf of the above captioned entity by National Registered Agents, Inc. or its Affiliate
in the State of ARKANSAS on this 30 day ofDecember, 2021. The following is a summary of the docwnent(s) received:

1.       Title of Action: KENDALL MEYERS vs. AUTODESK, INC
2.       Document(s) Served:           Other: -                                                                                                     . EXHIBIT
3.

4.
         Court of Jurisdiction/Case Number: None Specified

         Amount Claimed, if any: N/A
                                            Case# 23CV211401
                                                                                                                                                       A
S.       Method of Service:
         _    Personally served by:                Process Server               Law Enforcement            _     Deputy Sheriff                U. S Marshall
         _X_Delivered Via:                   _X_ Certified Mail            _    Regular Mail                     Facsimile
         _    Other (Explain):
6.        Date of Receipt:         12/30/2021
7.        Appearance/Answer Date: None Specified
8.        Received From:            None Specified                                            9. Carrier Airbill #


                                                                                              10. Call Made to: Not required
11.          Special Comments:
SOP Papers with Transmittal, via UPS Next Day Air
Image SOP
Email Notification, Craig Huckelbridge craig.huckelbridge@autodesk.com
Email Notification, Elise Schuller elise.schuller@autodesk.com
Email Notification, JeffKaban jeff.lcaban@autodesk.com




Registered Agent: NATIONAL REGISTERED AGENTS, INC                                                 CopiesTo:
888-579-0286 - Telephone
501-376-8430 - Fax


The information contained in this Summary Transmittal Fonn is provided by NRAI for quick reference only. It does not constitute a legal
opinion, and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other information
contained in the included documents. The recipient(s) of this fonn is responsible for reviewing and interpreting the included documents and
taking appropriate action, including consulting with its legal and other advisors as necessary. NRAI disclaims all liability for the information
contained in this form, including for any omissions or inaccuracies that may be contained therein.

ORIGINAL
              Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 6 of 21

                                NATIONAL REGISTERED AGENTS, INC.
                         SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: Craig Hucklebridge
    Autodesk Inc.                                           SOP Transmittal#   540813482
    111 Mcinnis Pkwy
    San Rafael, CA 94903-2700

Entity Served: AUTODESK, INC. (Domestic State: DELAWARE)

Transmitted by Amy McLaren




ORIGINAL
'   .   Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 7 of 21




         EXHIBITB
..
'    '             Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 8 of 21

                                                                                                                     ELECTRONICALLY FILED
                EXHIBIT                                                                                                  Faulkner County Circuit Court
                                                                                                                          Crystal Taylor, Circuit Clerk
                                                                  COVERSHEET
                                                                                                                        2021-Nov-02 10:00:58
                                                            STATE OF ARKANSAS                                              23CV-21-1401
                                                            CIRCUIT COURT: CIVIL                                          C20D01 : 1 Page


         The civil reporting form and the information contained herein shall not be admissible as evidence in any
         court proceeding or replace or supplement the filing and service of pleadings, orders, or other papers as
         required by law or Supreme Court Rule. This form is required pursuant to Administrative Order Number 8.
         Instructions are available at https://courts.arkansas.gov.



         County: Faulkner                        District: _ _ _ _ _ __                 Filing Date:1=1~/~0~1/~2=1_ _ _ _ __
         Judge: _ _ _ _ _ _ __                   Division: _ _ _ _ _ __                 CaselD:2_3~CV_-_2_1_-_ _ _ _ __


         Type of case (select one that best describes the subject matter)
          Torts                                       Real Property                             Miscellaneous Civil
          •   (NM) Automobile                         • (CD) Condemnation/Eminent               • (AP) Administrative Appeal
          •   (IT) Intentional                            Domain                                • (EL) Election
          •   (MP) Malpractice - Medical              • (UD) Landlord/Tenant                    • (FV) Foreign Judgment - Civil
          •   (MO) Malpractice - Other                   Unlawful Detainer                      • (FR) Fraud
          •   (LP) Premises - Liability               • (UO) Landlord/Tenant -                  • (U) Injunction
          •   (PL) Product Liability                    Other                                   • (CF) Property Forfeiture
          •   (OF) Slander/Libel/                     • (FC) Mortgage Foreclosure               • (RF) Register Arkansas
              Defamation                              (QT) Real Property - Other                   Judgment
          •   (OD) Torts - Other                                                                • (WT) Writ - Other
          Contracts                                                                             XX (OM) Civil - Other
          •   (BP) Buyer Plaintiff
          •   (EM) Employment Discrimination
          •   (EO) Employment - Other
          •   (DO) Seller Plaintiff (Debt Collection)
          •   (OC) Contract - Other
                                     Plaintiff                                                    Defendant
          Company/                  Myers                                 Company/                Autodesk, Inc.
          Last Name                                                       Last Name
          Suffix                                                          Suffix
          First Name                Kendall                               First Name
          DL/State ID                                                     DL/State ID
          Address                                                         Address
          City, State ZIP                                                 City, State ZIP
          Phone                                                           Phone
          Email                                                           Email
          Self-represented          •   Yes        XX No                  Self-represented        XX Yes            •   No
          DOB                                                             DOB
          Interpreter               •   Yes:                              Interpreter             • Yes:
                                                     (language)                                                 (language)
          needed?                   XX No                                 needed?                 XX No

         Attorney of Record:.__,_Ta=b=a=-=t"-'-h=-a-=B.,_,ra=n=c=h'---------- Bar#: 2002155
         For the: XX Plaintiff   • Defendant • Intervenor Email Address: tsbranch@tsbranchlaw.com
         Related Case(s): Judge: _ _ _ _ _ _ _ _ _ _ _ _ _ _ Case ID(s):._ _ _ _ _ _ _ _ __
         Manner of filing (choose one):                     XX (MFO) Original                     • (MFR+case type) Re-open
                                                            • (MFT) Transfer                      • (MFF) Reactivate

                                                                                                                                 6/1/2017
       Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 9 of 21

                                                                                  ELECTRONICALLY FILED
                                                                                     Faulkner County Circuit Court
                                                                                      Crystal Taylor, Circuit Clerk
                                                                                    2021-Nov-02 10:00:58
                                                                                       23CV-21-1401
                                                                                      C20D01 : 6 Pages




           IN fflE CIRCUIT COURT OF FAULKNER COUNTY, ARKANSAS
                                    DMSION

KENDALL MEYERS                                                                      PLAINTIFF

vs.                              CASE NO. 23CV-21-_ _

AUTODESK, INC                                                                     DEFENDANT


                                         COMPLAINT
       Comes now Kendall Meyers, hereinafter sometimes referred to as the Plaintiff, by and

through his attorney, Tabatha Branch of TS Branch Law Firm PLLC, and files this Complaint

complaining of AUTODESK INC, hereinafter sometimes referred to as the Defendant. The

Plaintiff would show the Court as follows:

                                        INTRODUCTION

       This is an action to redress discrimination based u~n race and for a permanent injunction

prohibiting the Defendant from engaging in the policies and practices complained of herein in

violation of 29 USC 621 et seq., Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C.

2000e to 2000e-17 (hereinafter "Title VII"); to award liquated, compensatory and punitive

damages; and any and all other benefits of his employment to which he would have been entitled

had he not been the victim of said discrimination.

                                         JURISDICTION

       The jurisdiction of this Court is invoked pursuant to 28 USC 1343(3) and (4) in order to

secure the relief authority by Title VII, and Title I of the ADA. Plaintiff also seeks permanent
      Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 10 of 21




injunction and a declaratory judgement pursuant to 28 USC 2201 and 2202, declaring that the

Defendant has discriminated against him in the tenns and conditions of his employment.

        Plaintiff filed a timely charge of discrimination with the Equal Employment Opportunity

Commission on July 27, 2021 (See Exhibit "A," attached hereto). The Equal Employment

Opportunity Commission issued a Notice of Right to Sue on August 3, 2021 (See, Exhibit "B,"

attached hereto).

                                            PARTIES

        1.      Plaintiff Kendall Meyers is and was at all times relevant hereto a citizen of the

United States of America, and a resident of Conway, Faulkner County, Arkansas.

       2.       Defendant, AutoDesk Inc is a California corporation license to do business in

Arkansas. The registered agent for service is: The Corporation Company, 124 West Capitol

Avenue, Suite 1900, Little Rock, AR 72201, via private process server.

                                             FACTS

       3.       On or about June 28, 2020, Plaintiff was hired as a Segment BDR Manager for

AutoDesk Inc.

       4.       Throughout his employment, Plaintiff performed his duties in a commendable

manner, meeting or exceeding the employer's legitimate expectations. In fact, while the Plaintiff

was employed as Segment BDR Manager, he mentored, lead and trained other employees.

       5.       On or about February 2021, during a video call Plaintiff was asked by a

Caucasian coworker if Plaintiff was growing his hair into an afro.

       6.       On or about May 2021, Plaintiff was notified that a photo of his face was being

circulated throughout the company, without his knowledge. The photo was circulated to make




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                                                                        -·--   ------~~


      Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 11 of 21




fun of Plaintiffs hair and referred to him as Tiger Woods. Senior Management commented and

laughed at the photo as well as the Tiger Woods comments.

        7.     Furthermore, other co-workers sarcastically made comments to Plaintiff that he

was able to speak correctly and had an "eloquent tone."

        8.     On or about May 14, 2021, Plaintiff reported his issues to human resources. It was

determined that the behavior towards Plaintiff went against culture code and against a working

together policy. However, instead of punishing or disciplining the people who engaged in this

inappropriate behavior, AutoDesk discharged Plaintiff.

        9.     The Defendant's actions in the preceeding paragraphs were a willful violation of

Title VII of the Civil Rights Act of 1964.

        10.    As a result of the discriminatory actions, Plaintiff has suffered the loss of

compensation and benefits, and other opportunities with his employment.

                                                   I.

              VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

       11.     Plaintiff refers to all the preceding and subsequent allegations contained in this

Complaint and incorporate them herein by this reference for all purposes.

       12.     The actions of the Defendant constitute race discrimination in violation of 42

U.S.C. 2000e to 2000e-17.

       13.     As a result thereof, Plaintiff is entitled to the relief requested as set forth, infra.

                                             DAMAGES.

       14.    As a direct and proximate result of the discriminatory discharge, Plaintiff suffered

damages in an amount in excess of the minimum amount for federal diversity jurisdiction to be

determined by a jury for the following elements:




                                                   3
      Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 12 of 21




       a.      Compensatory and punitive damages;

       b.      Liquidated damages for willful violation of the Race Discrimination of Title VII

of the Civil Rights Act 1964;

       c.      Compensatory and punitive damages for retaliation.

       15.     As a direct and proximate result of the allegations herein, Plaintiff has suffered

damages in excess of the minimum federal diversity jurisdiction amount ($75,000).

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court:

       1.      Grant Plaintiff a trial by jury;

       2.      Grant a permanent injunction prohibiting the Defendant from engaging in the

               policies and practices complained of herein;

       3.      Award compensatory and punitive damages;

       4.      Award liquidated damages for willful violation of Title VII;

       5.      Award compensatory and punitive damages for retaliation;

       6.      Award attorneys' fees and expenses incurred in this litigation;

       4.      Award pre and post judgment interest and all other relief as the court deems

appropriate.

                                                  Respectfully submitted,

                                                         /sll'abatha Branch
                                                  Tabatha Branch
                                                  Ark. Bar No. 2002155
                                                  TS BRANCH LAW FIRM, PLLC
                                                  700 S. German Lane Suite 110
                                                  Conway, Arkansas 72034
                                                  Phone: (501) 329-5555
                                                  Fax: (501) 377-9879




                                                     4
                         Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 13 of 21


     EEOC Fonn 5 (ll/09)
                                                                                                                                                          Agency(les) Charge
                           CHARGE OF DISCRIMINATION                                                                 Charge Presented To:
                                                                                                                                                          No(s):
             This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act
                    Statement and other Information before completing this form.
                                                                                                                        0       FEPA
                                                                                                                        IKI EEOC                            550-2021-01118


     Name {Indicate Mr., Ms., Mrs.}
     MR. KENDALL MYERS
     Street Address
                                                                                  State or local Agency, If any




                                                                                           City, State and ZJP Code
                                                                                                                                         Home Phone
                                                                                                                                  501-358-1718
                                                                                                                                                                  r . ,. . .   and EEOC



                                                                                                                                                                              1990

     4935 SISTINE CHAPEL DR, CONWAY,AR 72034

    Named Is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Govemment Agency
    That I Believe Discriminated Against Me or others. (If more than two, list under PARTICU/.ARS below.)
    Name                                                                                   No. Employees, Members Phone No.
    AUTODESK                                                                                                                         15-100                  (415) 507-5000
    Street Address                                                                         City, State and ZIP Code
    111 MCINNIS PKWY, SAN RAFAEL, CA 94903

    Name                                                                                                                      No. Employees, Members                   Phone No.


    Street Address                                                                        City, St.ate and ZIP Code



   DISCRIMINATION BASED ON {Check appropriate box{es),)                                                                                 DATE(S) DISCRIMINATION TOOK PLACE

     m      •                                     OsEX       •                           • •                                                  Earliest             Latest


          •• •                                             •                                                                             01-19-2021                  07-06-2021
              RACE                 COLOR                                        RELIGION                 NATIONAL ORIGIN

                   RETALIATION
                            OTHER (Specify)
                                                  AGE               DISABILITY


   THE PARTICULARS ARE (If additional paper Is needed, attach ext/a sheet(s)):
                                                                                                  GENETIC INFORMATION
                                                                                                                                                •       CONTINUING ACTION


     I was hired on June 28, 2020, as a Segment BDR Manager. Around April 2021, during a video
     call I was asked by a white coworker if I was growing out my afro. Around May 2021, a photo
     was shared of me without my knowledge, and I was referred to as Tiger Woods. Senior
     management commented and laughed at the photo. My coworker has also referred to me
     having an eloquent tone. Around June 2021, I reported these Issues to human resources. It
     was determined that the behavior towards me went against culture code and working
     together policy. On July 6, 2021, I was constructively discharged.

     I was not given a reason for the actions taken against me.

    I belleve I was harassed, and constructively discharged, because of my race, Black, in
    violation of the Clvil Rights Act of 1964, as amended.


     I want this charge filed with both the EEOC and the State or local Agency,                                               NOTARY - When necessary for State and Local Agency Requirements
     If any. I will advise the agencies if I change my address or phone number
     and I wlll cooperate fully with them in the processing of my charge in
t""!"'ac..,.c_o.,...rd_an_ce_w.,...it_h_th_e_ir..,p_ro_ce.,..d_u_res,--.- - , . - - , - - - , - - - . - - - - , _ - - - - - ! I swear or affirm that I have read the above charge and that It
     I declare under penalty of perjury that the above is true and correct.                                                   Is true to the best of my knowledge, information and belief.
                                                                                                                              SIGNATURE OF COMPLAINANT


        Digitally signed by Kendall Myers on 07-27-202                                                   EXHtBIT                       TO BEFORE ME THIS DATE
                          04:28 PM EDT



                                                                                               '
                    Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 14 of 21


  EEOC Farm 181 (11121120)                U.S. EQUAL EMPLOYMENT QPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
  To:    Kendall Myers                                                                 From:    Uttle Rock Area Office
        ·4935 Slatlne Chapel Dr                                                                 820 Louisiana
         Conway,AR 72034                                                                        Suite 200
                                                                                                Uttle Rock, AR 72201


        D                    On behalf ofperson(s) aggrlsved whose identity is
                             CONRDENT1AL (29 CFR§1601. 7(sJJ
  EEOC Charge No.                              EEOC Representative                                                     Telephone No.
                                                Brittney WIikerson,
  &60-2021-01118                                Investigator                                                           (501) 900-8131
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
        D         The facts alleged Jn the charge fall to state a claim under any of the statutes enforced by the EEOC.

        D         Your allegations did not involve a dfsablllty as defined by the Americans With Disabllltres M..

        D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

        D        Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 dlsalmlnation to file your charge
                 The EEOC issues the following detenninatlon: The EEOC will not proceed further with its investigation, and makes no
                 detennination about whether further investigation would establish vlolatiOns of the statute. This does not mean the claims
                 have no merit. This detenninatlon does not certify that the respondent Is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other Issues 1hat might be construed as having been reised by this charge.
        D        The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

        D        Other (brfetly state)

                                                        - NOTICE OF SUIT RIGHTS -
                                                  (See the sddltJonBJ Information attached to this form.)

Tltle VII, the Americana with Dlsabllltles Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination In Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed In federal or state court within 2 years (3 years for willful vlo~lons) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 vears)
before you file suit may not be collectible.

                                                                   On behalf of the Commission

                                                                                                                    8/3/2021
Enclosures(&)                                                                                                              (Date /ssuad}
                                                               WIiiiam A. Cash, Jr.,
                                                                Area Office Director
cc:
            Michelle Scannell
            Employment Council
          AUTODESK, INC.                                                                !XHtBIT
          111 Mcinnis Pkwy
          San Rafael, CA 94903
                                                                                 I
             Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 15 of 21



                  IN THE CIRCUIT COURT OF FAULKNER COUNTY, ARKANSAS
                                  20TH CIRCUIT DIVISION 1

                                KENDALL MEYERS V AUTODESK INC

                                             23CV-21-1401

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

AUTODESK, INC.
124 W. Capitol Ave., Ste. 1900
Little Rock, AR 72201

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Tabatha Branch
700 S. German Lane Suite 110
Conway, AR 72034

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge



                                                     CLERK OF COURT
Address of Clerks Office

CRYSTAL TAYLOR, CIRCUIT CLERK
CIRCUIT COURT OF FAULKNER COUNTY
724 LOCUST STREET
CONWAY, AR 72034                                     J Wiggs, DC

                                                     Date: 11/02/2021
i '                Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 16 of 21



                                    NOTICE OF RIGHT TO CONSENT
                      TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

      In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
      all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
      including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
      available from the Circuit Clerk.

      You should be aware that your decision to consent or not to consent to the disposition of your case
      before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
      matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
      case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

      You should communicate your consent by completing the Form - CONSENT TO PROCEED
      BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                            Circuit Clerk
                                                            Date: 11/02/2021
".   j
         .
         ••
             '   .        Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 17 of 21



             No. 23CV-21-1401 This summons is for AUTODESK, INC. (name of Defendant).



                                                      PROOF OF SERVICE

             D On _ _ _ _ _ _ _ _ [date] I personally delivered the summons and complaint to the individual
             at                                                        [place]; or

             D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
             [date] I left the summons and complaint in the close proximity of the defendant by
             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
             summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

             D On _ _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
             member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
             [address], a place where the defendant- resides; or

             D On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
             [name of individual], an agent authorized by appointment or by law to receive service of summons on
             behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant]; or

             D On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
             defendant maintains and office or other fixed location for the conduct of business, during normal
             working hours I left the summons and complaint with

             [name and job description]; or

             D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
             and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
             shown by the attached signed return receipt.

             D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
             summons and complaint by first-class mail to the defendant together with two copies of a notice and
             acknowledgment and received the attached notice and acknowledgment form within twenty days after
             the date of mailing.

             D Other [specify]:



             D I was unable to execute service because:




             My fee is $ _ _ .
              Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 18 of 21



To be completed if service is by a sheriff or deputy sheriff:

Date:                                SHERIFF OF _ _ _ COUNTY, ARKANSAS
        -------
                                     By: _____________
                                     [Signature of server]



                                     [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date:
        -------                      By:-------------
                                     [Signature of server]



                                     [Printed name]

Address:
           ---------------------------

Phone:
         -------------
Subscribed and sworn to before me this date:
                                                                                 ------

                                     Notary Public

My commission expires: _ _ _ _ _ _ _ __

Additional information regarding service or attempted service:




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                                                                                                       CRYSTAL TAYLOR, Faulkner County, Arkansas

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                 Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 19 of 21




                   EXHIBIT C
        Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 20 of 21




           IN THE CIRCUIT COURT OF FAULKNER COUNTY, ARKANSAS
                          20TH CIRCUIT DIVISION 1


                                                                                               EXHIBIT
KENDALL MEYERS,

               Plaintiff,
                                                                                           I   C
vs.                                                      CASE NO.: 23CV-21-1401

AUTODESK, INC.

               Defendant.


                 NOTICE OF FILING REMOVAL TO FEDERAL COURT


       Notice is hereby given that the Defendant in this action has filed a Notice of Removal,

removing the above-styled and numbered cause of action to the United States District Court for

the Eastern District of Arkansas, Central Division.

       A true and correct copy of the Notice of Removal filed with the United States District Court

for the Eastern District of Arkansas, Central Division, is attached hereto as Exhibit A.

DATED: January 26, 2022                               Respectfully submitted,




                                                      M. Kimberly Hodges
                                                      AR Bar No. 2019018
                                                      OGLETREE, DEAKINS, NASH,
                                                      SMOAK & STEWART, P.C.
                                                      International Place Tower II
                                                      6410 Poplar Avenue, Suite 300
                                                      Memphis, Tennessee 38119
                                                      Telephone: (901) 766-4306
                                                      Facsimile: (901) 767-7411
                                                      Kim.Hodges@ogletreedeakins.com

                                                      ATTORNEYS FOR DEFENDANT
                                                      AUTODESK, INC.


                                                 1
              •   ...
..   I,   '
                                 Case 4:22-cv-00074-LPR Document 1 Filed 01/27/22 Page 21 of 21




                                                        CERTIFICATE OF SERVICE

                                I, the undersigned counsel for Defendant, hereby certify that on this 26th day of January,

                        2022, a copy of the foregoing is being served via first-class U.S. Mail, postage prepaid, on counsel

                        for the Plaintiff as follows:

                                                          Tabatha Branch, Esq. (AR #2002155)
                                                          TS BRANCH LAW FIRM, PLLC
                                                          700 S. German Lane, Suite 110
                                                          Conway, Arkansas 72034
                                                          Tele: (501) 329-5555
                                                          Email: tsbranch@tsbranchlaw.com


                                I further certify that on this 26th day of January, 2022, a copy of the foregoing document

                        was mailed by first-class U.S. Mail, postage prepaid, and properly addressed to the following

                        Faulkner County Circuit Court Clerk:

                                                          Crystal Taylor, Circuit Clerk
                                                          Circuit Court of Faulkner County, Arkansas
                                                          724 Locust Avenue
                                                          Conway, AR 72034




                                                                                     M. Kimberly Hodges (AR2019018)
                                                                                     Counsel for Defendant




                                                                         2
                                                                                                       50062356.vl-OGLETREE
